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                     IN THE UNITED STATES BANKRUPTCY COURT
                          FOR THE DISTRICT OF DELAWARE

___________________________________
                                    )                Chapter 11
In re:                              )
                                    )                Case No. 09-10138 (KG)
NORTEL NETWORKS INC., et al.        )
                                    )                Jointly Administered
      Debtors.                      )
                                    )                Re: Docket No. 4347
                                    )
___________________________________ )

   AFFIDAVIT OF SHAUNA MARTIN IN SUPPORT OF GENBAND’S MOTION FOR
   ENTRY OF AN ORDER PURSUANT TO SECTION 362(D) OF THE BANKRUPTCY
     CODE GRANTING RELIEF FROM THE AUTOMATIC STAY TO COMPEL
                           ARBITRATION


STATE OF DELAWARE             )
                              )       ss:
COUNTY OF COLLIN              )

                Shauna Martin, being duly sworn, hereby deposes and says:

                1.     I am the Executive Vice President and General Counsel of GENBAND

US LLC (Formerly Genband Inc., “GENBAND”). As such, I am familiar with GENBAND’s

day-to-day operations, businesses, and financial affairs.

                2.     I submit this affidavit (the “Affidavit”) in support of GENBAND’s Motion

for Entry of an Order Pursuant to Section 362(d) of the Bankruptcy Code Granting Relief from

the Automatic Stay to Compel Arbitration (“GENBAND’s Motion”) [D.I. 4347] and to aid the

Court in interpreting the terms of the Asset Sale Agreement, dated as of December 22, 2009, by

and among Nortel Networks Inc. (collectively, with Nortel Networks Corporation and Nortel

Networks Limited, “Nortel,”), GENBAND, and the entities identified as sellers therein (the

“ASA”), approved by this Court’s Order Authorizing and Approving (A) the Sale of Certain


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